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                                                                              6
                                                                              7
                                                                              8                        UNITED STATES DISTRICT COURT
                                                                              9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                             10
                                                                             11 AGENDIA, INC.,                               Case No.
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                                                                             12               Plaintiff,                     COMPLAINT FOR JUDICIAL
                                                                                                                             REVIEW OF AGENCY DECISION,
                                                                             13         vs.                                  Medicare Appeals Council Docket
                                                                                                                             No. M-19-123; ALJ No. 1-2560274302
                                                                             14 ALEX AZAR, SECRETARY OF
                                                                                HEALTH AND HUMAN SERVICES,                   Trial Date:        None Set
                                                                             15
                                                                                        Defendant.
                                                                             16
                                                                             17
                                                                             18                            JURISDICTION AND VENUE
                                                                             19        1.     This Court has jurisdiction to review the final Medicare agency
                                                                             20 decision in this matter pursuant to 42 U.S.C. section 1395ff(b) and 42 CFR section
                                                                             21 405.1130. Jurisdiction also exists, if necessary, under 28 U.S.C. sections 1331 and
                                                                             22 1361, to resolve the important constitutional questions raised by this action and to
                                                                             23 compel the defendant Secretary of Health and Human Services (“Secretary”) to
                                                                             24 comply with the mandatory duties owed plaintiff.
                                                                             25      2.    Venue is appropriate in this judicial district under 42 U.S.C. section
                                                                             26 1395ff(b), because plaintiff Agendia, Inc. (“Agendia”) does business within this
                                                                             27 judicial district, Irvine, California.
                                                                             28

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                                                                              1                                      OVERVIEW
                                                                              2         3.    Congress and the Secretary are obligated to establish sound and
                                                                              3 reasonable policies for administering the Medicare program, the federal health
                                                                              4 insurance program for the aged and disabled. This is especially true for policies
                                                                              5 determining whether Medicare should “cover,” and thus pay for, advances in
                                                                              6 medicine, such as molecular diagnostic laboratory testing, that provide doctors
                                                                              7 treating cancer patients with important information to help guide their ongoing
                                                                              8 treatment of such patients through more precise medical procedures than previously
                                                                              9 used. As explained further below, such clinical laboratory testing helps to assure
                                                                             10 personalized medical decision making by those doctors treating individual Medicare
                                                                             11 beneficiaries, as opposed to being restricted to much less precise, one-size-fits-all
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                                                                             12 treatment protocols.
                                                                             13         4.    Under the Constitution, public policymaking, including discretionary
                                                                             14 regulatory decisions governing Medicare coverage, must be made by Congress, in
                                                                             15 the first instance, and implemented by federal government agency officials through
                                                                             16 the appropriate governmental policymaking procedures to assure accountability,
                                                                             17 fairness and uniformity. Unfortunately, however, since at least 2011, Congress and
                                                                             18 the Secretary have shirked their responsibilities for determining Medicare coverage
                                                                             19 for molecular diagnostic testing by delegating discretionary regulatory policymaking
                                                                             20 to private contractors, typically private insurance companies, who are not
                                                                             21 accountable to the public and who potentially benefit financially from imposing
                                                                             22 restrictive healthcare coverage and payment policies. And, these private
                                                                             23 contractors, known as Medicare Administrative Contractors (“MACs”) since 2003,
                                                                             24 use sub-regulatory procedures to establish their Medicare coverage policies
                                                                             25 unencumbered by governmental rulemaking procedures. This ultra vires practices
                                                                             26 of the MACs perhaps explain, but certainly do not justify, the Medicare program’s
                                                                             27 use of the resulting arbitrary MAC policies in matters such as the present case
                                                                             28 where, at the urging of a Medicare private contractor, the Medicare Appeals Council

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                                                                              1 reversed the well-reasoned decision of one of the Secretary’s administrative law
                                                                              2 judges, because the administrative law judge had based her favorable decision on
                                                                              3 duly-enacted Medicare regulations and on the uncontradicted expert evidence in the
                                                                              4 record rather than deferring to the unlawful and arbitrary policies of the MACs.
                                                                              5         5.    The particular private contractor policy at issue here is embodied in a
                                                                              6 Medicare Local Coverage Determination (“LCD”) and on a MAC “Policy Article”
                                                                              7 that automatically disallow Medicare coverage for any molecular diagnostic test
                                                                              8 ordered by a patient’s treating physician, unless the test has been “pre-approved” by
                                                                              9 a sub-regulatory assessment process for molecular diagnostic services administered
                                                                             10 by a private contractor, known as “MolDx.” MolDx was established in August
                                                                             11 2013, on an ad hoc basis, by a single MAC located in South Carolina known as
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                                                                             12 Palmetto GBA, a private insurance company owned by Blue Cross Blue Shield of
                                                                             13 South Carolina. The LCD and the related MAC Policy Article continue to prohibit
                                                                             14 coverage testing conducted by Agendia for Medicare patients residing throughout
                                                                             15 the Country, as evidenced by the decision in this case.
                                                                             16         6.    Agendia and the outside, independent doctors who order Agendia’s
                                                                             17 laboratory testing for their breast cancer patients continue to be adversely affected
                                                                             18 by the MACs’ sub-regulatory policy making as evidenced by the decision of the
                                                                             19 Secretary’s Medicare Appeals Council (“Council”) in this case and two other
                                                                             20 administrative appeals being pursued by Agendia through an expedited judicial
                                                                             21 review process that is the subject of a related case, Agendia v. Alex Azar, Case No.
                                                                             22 8:19-cv-00030-DOC-JDE (C.D. Cal.), filed in this court on January 7, 2019.
                                                                             23 Through these actions, Agendia challenges (a) the authority of Congress and the
                                                                             24 Secretary to delegate to private contractors’ discretionary, regulatory policy
                                                                             25 making, and specifically their authority to do so through LCDs, Policy Articles, and
                                                                             26 the MolDx process, and (b) the Secretary’s 2005 requirement that governmental
                                                                             27 adjudicators, including the Medicare Appeals Council (“Council”), must give
                                                                             28 “substantial deference” to the MAC policies stablished by private contractors. In

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                                                                              1 the instant appeal, the Council found “no reason to not apply substantial deference
                                                                              2 to the LCD or to question the MolDX program’s findings.” The Council also
                                                                              3 acknowledged that it did not have the authority to address legal challenges to the
                                                                              4 authority of the MACs to establish Medicare coverage policies through LCDs and
                                                                              5 MAC Policy Articles. See Council’s January 7, 2019 final decision (attached as
                                                                              6 Exhibit A), page 10.
                                                                              7                                    THE PARTIES
                                                                              8        7.     Agendia is a Medicare approved, state licensed clinical laboratory
                                                                              9 located in Irvine, California. As the facts of the instant appeal show, Agendia
                                                                             10 furnishes advanced diagnostic laboratory testing ordered by physicians for their
                                                                             11 patients throughout the United States and not only in California. Such advanced
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                                                                             12 diagnostic testing is defined by Medicare as laboratory testing offered and furnished
                                                                             13 only by a single laboratory and not sold for use by a laboratory other than the
                                                                             14 original developing laboratory. The testing consists of an analysis of multiple
                                                                             15 biomarkers of DNA, RNA, or proteins combined with a unique algorithm to yield a
                                                                             16 single patient-specific result. 42 U.S.C. § 1395m-1(d)(5). The two laboratory tests
                                                                             17 at issue, BluePrint and TargetPrint, were developed by Agendia using genetic
                                                                             18 research made possible by the Human Genome Project (1990-2003), an international
                                                                             19 scientific research project designed to determine the sequence of nucleotide base
                                                                             20 pairs that make up human DNA, and identifying and mapping all of the genes of the
                                                                             21 human genome from both a physical and a functional standpoint. The tests are
                                                                             22 ordered by physicians to help guide their treatment of breast cancer patients.
                                                                             23        8.     The Secretary is responsible for administering the Medicare program,
                                                                             24 the federal health insurance program for the aged and disabled. 42 U.S.C. §§ 1395
                                                                             25 et seq. The Centers for Medicare and Medicaid Services (“CMS”) is the federal
                                                                             26 agency responsible for the day-by-day administration of the Medicare program. As
                                                                             27 stated above, beginning in 2003, CMS delegated many of its most important
                                                                             28 functions to MACs.

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                                                                              1                   THE RELEVANT MEDICARE PROVISIONS
                                                                              2        9.     Physician and laboratory services are medical services covered by Part
                                                                              3 B of the Medicare program. See 42 U.S.C. §§ 1395j et seq., including 42 U.S.C. §
                                                                              4 1395x(s)(3), which requires Medicare coverage for diagnostic laboratory services.
                                                                              5 Under 42 U.S.C. section 1395u(a), the administration of Part B of the Medicare
                                                                              6 program “shall be conducted through contracts with medicare (sic) administrative
                                                                              7 contractors under section 1395kk-1 of this title.” Section 1395kk-1(a)(4), in turn,
                                                                              8 expressly includes “developing” LCDs as one of the MACs’ delegated functions.
                                                                              9        10.    An LCD is “a determination by a fiscal intermediary or a carrier
                                                                             10 [known as MACs effective 2003] . . . under Part B . . .respecting whether or not a
                                                                             11 particular item or service is covered . . in accordance with section 1395y(a)(1)(A) of
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                                                                             12 this title.” 42 Section 1395y(a)(1)(A), in turn, provides that no Medicare payment
                                                                             13 may be made for any expenses incurred for items and services that are not
                                                                             14 “reasonable and necessary” for the diagnosis or treatment of illnesses or injury or to
                                                                             15 improve the functioning of a malformed body member. Thus, this statutory
                                                                             16 provision essentially requires Medicare to cover and pay for services determined to
                                                                             17 be reasonable and necessary for the diagnosis or treatment of an illness unless some
                                                                             18 other express provision of the law or duly enacted regulation provides otherwise.
                                                                             19 The Secretary has promulgated regulations implementing this provision, including
                                                                             20 42 C.F.R. sections 411.15(k) and 410.32(a), which allow coverage for laboratory
                                                                             21 services if they are ordered by a patient’s treating physician for the management of
                                                                             22 the patient’s condition.
                                                                             23        11.    While Congress has authorized MACs to develop Medicare coverage
                                                                             24 policy through the issuance of LCDs without specifying the process to be followed
                                                                             25 in doing so, it requires the Secretary to issue National Coverage Determinations
                                                                             26 (“NCDs”) through a governmental process that is similar to the process required to
                                                                             27 enact regulations under the rulemaking requirements of the federal Administrative
                                                                             28 Procedure Act, 5 U.S.C. section 553 (“APA”). See 42 U.S.C. § 1395y(l)(3). As a

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                                                                              1 result, NCDs are not subject to APA rulemaking provisions. However, all other
                                                                              2 Medicare statements of policies and rules that establish or change a substantive legal
                                                                              3 standard governing the scope of Medicare benefits, arguably including LCDs and
                                                                              4 MAC Policy Articles, must be enacted as regulations under the APA in accordance
                                                                              5 with 42 U.S.C. section 1395hh(a)(2). Yet, MACs do not establish LCDs or MAC
                                                                              6 Policy Articles in accordance with such APA rulemaking processes.
                                                                              7        12.    Disputes over the issue of whether particular items or services are
                                                                              8 reasonable and necessary for the treatment of an illness are commonplace. In fact,
                                                                              9 Congress has established an elaborate administrative appeal process to resolve such
                                                                             10 disputes. Under 42 U.S.C. sections 1395ff(a) and (b), MACs make “initial
                                                                             11 determinations” and “redeterminations” concerning whether services for which
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                                                                             12 Medicare claims for payment are submitted by clinical laboratories and other kinds
                                                                             13 of Medicare providers and suppliers are reasonable and necessary and thus Medicare
                                                                             14 covered and payable.
                                                                             15        13.    Under 42 U.S.C. section 1395ff(b), Laboratories may request
                                                                             16 reconsideration of such “claims determinations” by another private contractor,
                                                                             17 known as a qualified independent contractor (“QIC”). Thereafter, a laboratory or
                                                                             18 other provider or supplier of services may request an administrative hearing before
                                                                             19 one of the Secretary’s administrative law judges (“ALJs”). The final step in the
                                                                             20 administrative appeal process for Medicare claims is an appeal before the Council.
                                                                             21        14.    The Secretary has established regulations implementing these
                                                                             22 administrative appeal procedures. 42 C.F.R. §§ 405.900 – 405.1140. While ALJs
                                                                             23 and the Council are not bound by LCDs or MAC policy articles in adjudicating
                                                                             24 Medicare claims appeals, as of 2005, they must give “substantial deference” to
                                                                             25 LCDs, and if they choose not to follow an LCD, they must explain why they did not
                                                                             26 do so.” Moreover, the ALJs and the Council may not set aside or review the validity
                                                                             27 of an LCD for purposes of Medicare claims appeals such as those here. 42 C.F.R. §
                                                                             28 405.1062. Congress allows Medicare beneficiaries, but not Medicare providers or

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                                                                              1 suppliers, including laboratories, to challenge the validity of LCDs. 42 U.S.C. §§
                                                                              2 1395ff(f)(2) and (f)(5).
                                                                              3                                PROCEDURAL FACTS
                                                                              4         15.   In the eighty-six individual patient cases at issue, the medical records
                                                                              5 presented to the ALJ show (a) that each patient was diagnosed with early stage
                                                                              6 breast cancer, (b) that her physician ordered the molecular diagnostic testing at
                                                                              7 issue, BluePrint and/or TargetPrint, for the management of the patient’s condition,
                                                                              8 and (c) that the testing was provided as billed. Such record evidence further shows
                                                                              9 that the testing results corroborated, supplemented, or contrasted the information in
                                                                             10 the patient’s pathology report, and could be used to guide the physician in plotting
                                                                             11 the patient’s most appropriate course of treatment. With basal type cancer of the
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                                                                             12 breast, once a metastatic event occurs, the cancer becomes incurable. Therefore,
                                                                             13 accurately identifying the type of cancer at the earliest stages is crucial. Standard
                                                                             14 pathology procedures did not accurately identify the type of cancer in some cases in
                                                                             15 the records. For example, by identifying a basal type cancer case, the high toxicity
                                                                             16 of the most powerful chemotherapy was justified by the likelihood of its
                                                                             17 effectiveness. In other types of cases, the cancer patient might be spared the risks
                                                                             18 and the side effects of undergoing chemotherapy when the cancer cells are hormone
                                                                             19 driven inasmuch as the chemotherapy would not be effective and hormone therapy
                                                                             20 would be most effective. Peer reviewed medical literature in the record shows that
                                                                             21 during the time at issue, the tests were not investigational or experimental, but were
                                                                             22 used to guide treatment by oncologists as a standard practice in early stage breast
                                                                             23 cancer at the time the services at issue were provided.
                                                                             24         16.   From June 25, 2012, through January 25, 2013, Agendia provided
                                                                             25 BluePrint and TargetPrint testing for the eighty-six Medicare beneficiaries suffering
                                                                             26 from breast cancer at the request of the patients’ treating physicians. Agendia
                                                                             27 timely submitted claims for Medicare payment for these laboratory tests to Noridian
                                                                             28 Healthcare Solutions, LLC. (“Noridian”), the MAC responsible for administering

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                                                                              1 Part B of the Medicare program for laboratories located in California. Noridian
                                                                              2 denied payment for the testing based on an LCD that had been issued by Palmetto
                                                                              3 GBA, in 2012, LCD L32288 (orig. det. eff. date May 2012)(now superseded).
                                                                              4 Among other things, this LCD confirms “non-coverage” for all molecular diagnostic
                                                                              5 tests that are not explicitly covered by an NCD, an LCD, or a coverage article
                                                                              6 published by Palmetto GBA and excluded per MolDx Exempt Tests published on
                                                                              7 the Palmetto GBA website. The MolDx assessment found there to be insufficient
                                                                              8 evidence to support reasonable and necessary criteria for Medicare reimbursement
                                                                              9 and thus deemed the BluePrint test to be a “statutorily excluded test” and neither test
                                                                             10 was on the LCD’s list of covered services in the MAC’s policy article. Noridian
                                                                             11 denied Agendia’s requests for favorable redetermination for this same reason.
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                                                                             12        17.    Agendia timely requested the QIC (the private contractor responsible
                                                                             13 for reconsidering MAC redeterminations) to order coverage and payment for the
                                                                             14 testing at issue. Relying on LCD L32288, MAC policy article A51931 and the lack
                                                                             15 of approval by MolDx, the QIC denied reconsideration.
                                                                             16        18.    Agendia then timely requested an ALJ hearing. Due to a large backlog
                                                                             17 of cases, the Secretary’s Office of Medicare Hearings and Appeals did not hold an
                                                                             18 ALJ hearing until July 2018, several years after Agendia filed its request for such a
                                                                             19 hearing.
                                                                             20          THE FULLY FAVORABLE AUGUST 22, 2018 ALJ DECISION
                                                                             21        19.    The first ALJ to consider Agendia’s claims at a de novo hearing, issued
                                                                             22 a decision on August 22, 2018, that was “fully favorable” to Agendia. During the
                                                                             23 hearing, Agendia presented expert testimony from a physician who had been in the
                                                                             24 private practice of oncology for 30 years, including at Cedars Sinai Medical Center
                                                                             25 in Los Angeles, regarding the testing at issue and the medical necessity of the same.
                                                                             26 The record evidence also contained documentation of each treating physicians’
                                                                             27 orders for the testing and pathology reports describing the breast cancer patients’
                                                                             28 conditions, as well as the individualized molecular diagnostic test results for each

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                                                                              1 patient. Additionally, the hearing record included evidence-based scientific articles
                                                                              2 in effect during the dates of services at issue, which showed that BluePrint and
                                                                              3 TargetPrint were “more accurate than conventional pathology methods in
                                                                              4 determining the receptor status and response to treatment in early-stage breast
                                                                              5 cancer patients.”
                                                                              6         20.   Based on this evidence, the ALJ found that prior to the growth of
                                                                              7 genetic technology, the medical community was aware that there were three types of
                                                                              8 breast cancer, all of which were treated by chemotherapy. However, with the
                                                                              9 growth in genetic technology, tests were developed to be more precise in identifying
                                                                             10 the type or classification of the individual’s cancer, and accordingly, more precise in
                                                                             11 how to effectively treat an individual’s particular cancer. Prior to such
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                                                                             12 developments, there was a 1 in 5 error rate in identifying the type of cancer a patient
                                                                             13 had. In 2012, both BluePrint and TargetPrint were used in conjunction to help a
                                                                             14 physician plan a patient’s course of treatment. Because there were many gray areas
                                                                             15 in standard pathology reports, these two tests furnished more precise information
                                                                             16 that supplemented the pathology reports so that the treating physician could better
                                                                             17 decide the course of treatment for each particular patient. By 2012, the use of these
                                                                             18 tests was the standard of care for oncologists. Through the use of three
                                                                             19 representative patient cases, Agendia’s medical expert described in detail the
                                                                             20 medical necessity of the testing for each patient. The ALJ then applied this
                                                                             21 reasoning to the evidence in the record for each of the remaining 83 patients.
                                                                             22         21.   Based on these findings, the ALJ concluded that the “emerging genetic
                                                                             23 testing provided to the beneficiaries in these cases were medically reasonable and
                                                                             24 necessary.” The ALJ did not ignore the LCD or the MolDx determinations but
                                                                             25 concluded that the tests at issue were reasonable and necessary for treating the
                                                                             26 patients’ conditions despite such MAC “policies.”
                                                                             27         22.   On October 10, 2018, the QIC requested the Council to review the
                                                                             28 ALJ’s August 22, 2018 decision on the primary ground that the ALJ erred as a

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                                                                              1 matter of law by “misapplying” LCD L3228 and the MolDx determination.
                                                                              2 Agendia duly opposed that request.
                                                                              3                    THE JANUARY 7, 2018 COUNCIL DECISION
                                                                              4         23.   Without advising Agendia of its decision to review the ALJ decision,
                                                                              5 on January 7, 2019, the Council mailed Agendia a “NOTICE OF OWN MOTION
                                                                              6 REVIEW AND DECISION OF MEDICARE APPEALS COUNCIL,” (Exhibit A),
                                                                              7 which Agendia did not receive until January 11, 2019. After discussing the
                                                                              8 decisions leading up to its decision, including the August 22, 2018 ALJ decision, the
                                                                              9 Council concluded that the “ALJ’s decision contains an error of law material to the
                                                                             10 outcome of the claims.” Specifically, the Council held that the ALJ’s decision “is
                                                                             11 inconsistent with the LCDs in effect during the dates of service at issue.” Council
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                                                                             12 decision, page 10. The Council decided that the ALJ’s “departure from the LCD
                                                                             13 was a result of its misapplication and misunderstanding of the MolDX program,” as
                                                                             14 well as the ALJ’s failure to apply Policy Article A51931. And, as stated above, the
                                                                             15 Council found “no reason to not apply substantial deference to the LCD or to
                                                                             16 question the MolDX program’s findings.” Id.
                                                                             17                     THE COUNCIL’S DECISION IS INVALID.
                                                                             18         24.   The Council’s January 7, 2019 decision is reviewable by this Court
                                                                             19 under the provisions of the APA, specifically 5 U.S.C. section 706. Under Section
                                                                             20 706, a decision of an agency must be set aside if it is (a) arbitrary or capricious and
                                                                             21 not in accordance with the law, (b) contrary to constitutional right or power, (c) in
                                                                             22 excess of statutory jurisdiction and other legal limits, or (d) without the procedure
                                                                             23 required by law.
                                                                             24         25.   The Council’s decision is contrary to the fundamental constitutional
                                                                             25 principle requiring Congress to make laws and policies. All legislative powers are
                                                                             26 vested in Congress under Article 1, section 1 of the Constitution. While the details
                                                                             27 of such policymaking may be delegated to Executive Branch agencies under the
                                                                             28 appropriate circumstances and pursuant to appropriate standards, Congress may not

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                                                                              1 delegate discretionary regulatory policymaking to private contractors under any
                                                                              2 circumstances. And, even if Congress could constitutionally allow an agency to
                                                                              3 delegate such authority to a private contractor, there is no authority allowing
                                                                              4 Congress or a government agency to require judicial or quasi-judicial decision
                                                                              5 makers to defer to the policies developed by private contractors. Thus, because
                                                                              6 Congress has purportedly authorized MACs to make Medicare coverage policies,
                                                                              7 such as LCD L32288, and because the Secretary’s regulations require ALJs to give
                                                                              8 substantial deference to these policies, which has occurred here, the Council’s
                                                                              9 decision must be set aside.
                                                                             10         26.   The Council’s decision is also contrary to the procedures required by
                                                                             11 statute to be applicable to the promulgation of Medicare policies under the
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                                                                             12 rulemaking provisions of the APA. Under established case law regarding the APA,
                                                                             13 as well as under the provisions of 42 U.S.C. section 1395hh, no Medicare policy or
                                                                             14 rule may be implemented unless it was enacted as a regulation, which requires
                                                                             15 compliance with APA rulemaking requirements. LCD L32288, Policy Article
                                                                             16 A51931, and the MolDx program were developed by a MAC, Palmetto GBA,
                                                                             17 without compliance with such rulemaking requirements and continue to be applied
                                                                             18 and enforced by MACs throughout the Country, including the MAC (Noridian) that
                                                                             19 disallowed payment for the claims at issue here.
                                                                             20         27.   Moreover, the Council’s decision in this matter is arbitrary and
                                                                             21 capricious, not in accordance with the law and unsupported by substantial evidence.
                                                                             22 For example, the Council’s decision is contrary to the requirements of the
                                                                             23 controlling Medicare regulations, which require Medicare coverage of the tests at
                                                                             24 issue based on the evidence in the record, including the uncontradicted evidence of
                                                                             25 Agendia’s expert witnesses and the test ordering decisions of the doctors who were
                                                                             26 treating the eighty-six patients regarding the medical necessity for such testing.
                                                                             27         28.   Making the constitutional and other legal infirmities even more
                                                                             28 egregious under the circumstances of this case is the fact that Agendia has been

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                                                                              1 required to follow the only process permitted by the Secretary’s regulations to
                                                                              2 challenge the application of LCD L32288, Policy Article A51931, and the MolDx
                                                                              3 program, which process has been inexcusably and prejudicially delayed for years
                                                                              4 thus depriving Agendia and the Medicare beneficiaries they serve of the full and
                                                                              5 unencumbered benefits of the critically important testing at issue on a reasonably
                                                                              6 prompt basis. Moreover, while Congress has required the Secretary to evaluate and
                                                                              7 determine which LCDs should be adopted nationally and “to what extent greater
                                                                              8 consistency can be achieved among” LCDs under 42 U.S.C. section 1395y(l)(5)(A),
                                                                              9 Agendia is informed and believes and therefore alleges that the Secretary has either
                                                                             10 not performed such an evaluation or determination, or if he has done so, has not
                                                                             11 done so fully and fairly. For example, for nearly seven years, one particular MAC’s
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                                                                             12 policies, that of Palmetto GBA, have dominated Medicare policymaking for the
                                                                             13 coverage of diagnostic molecular testing and have effectively become a de facto
                                                                             14 NCD (National Coverage Determination) without going through the process
                                                                             15 required for the Secretary to enact such national Medicare coverage determinations.
                                                                             16        29.    The Secretary’s own Inspector General has recognized the arbitrary
                                                                             17 nature of the LCD policy making process. In a January 2014 report entitled, Local
                                                                             18 Coverage Determinations Create Inconsistency in Medicare Coverage, the
                                                                             19 Inspector General finds, among other things, (a) that in October 2011, over half of
                                                                             20 Medicare Part B procedures were subject to an LCD in one or more states, including
                                                                             21 California, (b) that LCDs limited coverage for the same procedure codes differently
                                                                             22 across states, and (c) that some MACs issued “blanket LCDs prohibiting coverage
                                                                             23 of all procedure codes for new technology, stating that they considered new
                                                                             24 technology to be experimental and thus not covered by Medicare,” which is
                                                                             25 basically what the LCD at issue did in 2011 for molecular diagnostic testing that
                                                                             26 was not pre-approved by the MAC controlled MolDx process. U.S. Department of
                                                                             27 Health and Human Services, Office of the Inspector General. (2014). Local
                                                                             28 Coverage Determinations Create Inconsistency in Medicare Coverage (OEI-01-11-

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                        1 00500 at 8-10). Retrieved from https://oig.hhs.gov/oei/reports/oei-01-11-00500.pdf.
                        2                                        PRAYER
                        3        Wherefore, Agendia prays as follows:
                        4        1.      For an order from this Court setting aside the decision of the Council
                        5 and requiring the Secretary to cover and pay for the claims at issue as well as all
                        6 other similar past, present and future claims of Agendia;
                        7        2.      For an order awarding Agendia its costs of suit including reasonable
                        8 attorney's fees; and
                        9        3.      For such other and further relief as this Court deems necessary and
                       10 appropriate.
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     f.11       Lr)    12 Dated: January 14, 2019                HOOPER, LUNDY & BOOKMAN, P.C.
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